              Case 1:22-cv-00220-SE Document 12 Filed 09/13/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW HAMPSHIRE


JAMES V. HAXBY,

                              Plaintiff,

        vs.                                        Case No. 1:22-cv-00220

TRUSTEES OF DARTMOUTH COLLEGE

                              Defendant.



                                           STATUS REPORT

    NOW COME the parties, by and through their undersigned counsel, and provide this status

report to the Court:

    1. The parties believe that this matter is resolved.

    2. The parties therefore do not believe it would assist the Court to receive a scheduling

proposal as contemplated by the parties’ Joint Motion to Extend Stay (Doc. 11) which was filed

on August 22, 2022.

    3. The parties mutually request that the matter not be administratively closed for lack of a

stipulation of dismissal until October 25, 2022. This will facilitate the prompt, efficient and cost-

effective resolution of this matter and will minimize the amount of time required from the Court,

its staff, and the parties.

    4. The parties also request that they be excused from filing the scheduling proposal

contemplated by the Joint Motion to Extend Stay.
          Case 1:22-cv-00220-SE Document 12 Filed 09/13/22 Page 2 of 2




Dated the 13th day of September, 2022.

Respectfully submitted,

 PLAINTIFF,                                      DEFENDANT,
 JAMES V. HAXBY                                  TRUSTEES OF DARTMOUTH
                                                 COLLEGE

 By his attorneys,                               By their attorneys,

 /s/ Lauren Irwin                                /s/ Pierre A. Chabot
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                                CERTIFICATE OF SERVICE

       I hereby certify that I caused a copy of the foregoing Status Report to be served on all

counsel of record this day, by filing same via the Court’s ECF system.

                                                     /s/ Pierre A. Chabot
                                                     Pierre A. Chabot
